                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  ) No. 4:19CR562 CDP/NAB
                                           )
EDDIE EARL JOHNSON.                        )
                                           )
       Defendants.                         )


                     Motion To Suppress Evidence And Statements

       COMES NOW, Defendant, Eddie Earl Johnson, and moves this honorable Court

to Suppress any evidence derived from the search of his home on May 16, 2019, any

evidence derived from the search and seizure of his phone, and any statements made by

Mr. Johnson to officers on that day. In support Defendant states:

                                   Factual Background

       According to discovery provided by the Government, after a border search in

Chicago revealed the presence of what agents believed to be illegal Glock conversion

devices in certain packages allegedly addressed to Eddie Earl Johnson, a controlled

delivery of those packages to Mr. Johnson’s home was arranged. A search warrant of the

home was sought and issued, and the warrant was conditioned on it not being valid until

such time as the conversion devices reached the threshold of the home. The warrant was

signed by the magistrate on the morning of May 16, and executed later that day. During

the course of the search of the home, the subject parcels were retrieved, as well as a pistol

                                              1
and certain ammunition and other gun parts, as well as certain documents and receipts.

Officers questioned Mr. Johnson and in the course of that questioning seized his cell

phone from his person. They claimed that he gave permission for them to seize and

search the cell phone. It is counsel’s understanding that the Government intends to use

all of the evidence derived from the search and seizure in its case and chief against Mr.

Johnson.

   I.      The Warrant Was Invalid

   A. The Warrant Lacked Particularity.

        The Fourth Amendment states unambiguously that “no Warrants shall issue, but

upon probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized.” U.S.Const.Amend.4. “The

requirement that warrants shall particularly describe the things to be seized makes general

searches under them impossible and prevents the seizure of one thing under a warrant

describing another. As to what is to be taken, nothing is left to the discretion of the

officer executing the warrant.” Marron v. United States, 275 U.S. 192, 196 (1927). See

Stanford v. Texas, 379 U.S. 476 (1965). The particularity requirement of the fourth

amendment was designed to guarantee that government agents could no longer rely on

indiscriminate or overbroad warrants to engage in "general, exploratory rummaging in a

person's belongings." Id.; Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971).

        In this case, the warrant gave unbridled discretion to agents to search and seize

anything that could have evidentiary value. The language of the warrant broadly


                                              2
authorized the search for and seizure of, “any and all items which constitute evidence,

fruits, and instrumentalities of violations of Title 26, section 5861(d)(possession of an

unregistered machine gun); Title 26 5861(i)(possession of a machine gun without a serial

number); Title 18, Section 922(a)(1)(A)(importation of firearms), [and other specified

crimes], including but not limited to [certain specifically listed items].”

       A search based on a warrant that does not describe with particularity the things to

be seized is “plainly invalid.” Groh v. Ramirez, 540 U.S. 551, 557 (2004). In this case, it

is immaterial that the warrant went on to list certain specific items to be searched for. The

broad language authorizing officers to seize anything they deemed of evidentiary value

authorized exactly what the particularity language of the Fourth amendment was

designed to prohibit – a broad, sweeping search that left everything to the discretion of

the officers.

       Even to any extent the items seized may have constituted items specifically listed

as authorized, the search was still invalid: “Whether a search warrant is constitutional

does not depend on the accidental possibility that the search may ultimately be conducted

in a manner consistent with the application. If a warrant fails for lack of particularity or

specificity, it is simply unconstitutional—without regard to what actually occurred.”

United States v. Hotal, 143 F.3d 1223, 1227 (9th Cir. 1998).

       Nor is this a case where the good-faith exception applies. In Leon, the Supreme

Court held that the suppression of evidence will continue to be appropriate “if it can be

said that the law enforcement officer had knowledge, or may properly be charged with


                                              3
knowledge, that the search was unconstitutional under the Fourth Amendment.” United

States v. Leon, 468 U.S. 897, 919 (1984). In this case because of the broad language

authorizing the seizure of “any and all evidence” of certain crimes, the good-faith

exception could not be relied on.

   B. Once The Parcels Were Seized, The Warrant Was No Longer Valid.

       The authority of the warrant was contingent on the delivery of the parcels

allegedly containing illegal parcels. The contingency of this event indicates a finding by

the magistrate judge that aside from the delivery of those controlled parcels, there was

insufficient evidence of probable cause to support a finding that any other evidence of

criminality existed inside the home. “The critical element in a reasonable search is not

that the owner of the property is suspected of crime but that there is reasonable cause to

believe that the specific ‘things' to be searched for and seized are located on the property

to which entry is sought.” Zurcher v. Stanford Daily, 436 U.S. 547, 556 (1978); see also

United States v. Savoca, 739 F.2d 220, 225 (6th Cir.1984) (“[T]he existence of probable

cause to arrest will not necessarily establish probable cause to search.”).

       In this case, the only evidence linking any criminality to the home in question was

the fact that the two parcels in question had been sent there. The affidavit included a list

of other items that had allegedly been ordered from the same website. That list included

things that had been described as “footwear . . . wigs . . . jeans . . . hair samples.” The

affiant suggested in the affidavit that illegal conversion devices are often mislabeled

when declared, but the affidavit also established in this case that the two parcels seized


                                               4
had been described as “metal” and a “switch.” The list of additional items seized gave no

reason for believing that other documents of evidentiary value would be seized there. The

affidavit thus gave no indication of any evidence that Mr. Johnson or anyone else had

ordered any illegal devices prior to this. Primarily it established that Mr.Johnson used the

address in question as his home address. This is not sufficient to establish probable cause.

       On information and belief, the parcels in question were seized shortly after

officers entered the home. Any subsequent search was not authorized by the warrant, and

any further items must be suppressed.

   C. Any evidence seized from Eddie Johnson’s person or statements he made,

       including any permission he allegedly gave to search his phone, were fruit of

       the poisonous tree and must be suppressed. Alternatively, any evidence seized

       from Eddie Warren’s person or statements made, including any permission

       he gave to search his phone, were involuntary and the product of coercion

       and must be suppressed.

       “Verbal statements obtained as a result of a Fourth Amendment violation are as

much subject to the exclusionary rule as are items of physical evidence discovered during

an illegal search.” U.S. v. Yousif, 308 F.3d 820, 832 (8th Cir. 2002) (citing Wong Sun,

371 U.S. 471, 485 (1963) (“the Fourth Amendment may protect against the overhearing

of verbal statements as well as against the more traditional seizure of ‘papers and

effects’”). The government has the burden to show that the evidence is not “the fruit of

the poisonous tree.” United States v. Johns, 891 F.2d 243, 245 (9th Cir.1989)


                                             5
       Moreover, any waiver of Mr. Johnson’s miranda rights was not in any case

knowing and voluntary, any statements or permission he gave was coerced, and any

search of his person was not authorized by law.

                                        Conclusion

       WHEREFORE, for the foregoing reasons, Defendant respectfully requests that all

evidence and statements obtained on May 16, 2019, be suppressed, and further that

evidence obtained from the later search of his telephone be suppressed.

                                           Respectfully Submitted,

                                           /s/ Kathryn B. Parish, 61781MO
                                           Attorney for Defendant Eddie Earl Johnson
                                           CARLYLE PARISH, LLC
                                           3407 Jefferson, #128
                                           Saint Louis, MO 63118
                                           314-277-7670
                                           Fax: 866-764-1249
                                           Email: Kay@carlyleparishlaw.com


                             CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed via the court’s electronic filing system
on this 27th day of February, 2020 to be served upon all attorneys of record.

                                                         /s/ Kathryn B. Parish




                                              6
